          Case 3:13-cr-00064-JGZ              Document 44    Filed 04/15/13      Page 1 of 1

AO 455 (Rev . 5/85) Wai ver of Indictment




                                     United States District Court
                                            DISTRICT OF OREGON


UNITED STATES OF AMERICA

                     v.                                 WAIVER OF INDICTMENT

CYRUS ANDREW SULLIVAN                                   CASE NUMBER: 3: 13-CR-00064-HZ

          I, CYRUS ANDREW SULLIVAN, the above named defendant, who is accused by

information ofmaking a threatening communication in violation ofTitle 18, Section 875(c) ofthe

United States Code, and being advised of the nature ofthe charge, the proposed infonnation, and

of my rights, hereby waive in open court on this __12_ day of       A-pv< l ' 2013, prosecution by
indictment, and consent that the proceeding may be by information rather than by indich11ent. I

have fully discussed this waiver with my attomey, and my decision to execute this waiver is an

informed and voluntary one.



                                                        CYRUS AND        W SULLIVAN
                                                        Defendant

          I represent defendant as his legal counsel. I have fully discussed this waiver of indictment

with defendant, and to my lmowledge his decision to execute this waiver is an informed and

voluntary one.




                                                       Counsel for Defendant


                                                       This L  S:   day otAp---'
                                                                            rrc"---+-( ___, 2013.
